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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,

      v.                                      Case No. 1:09-CR-335 (RJL)

PANKESH PATEL et al.,

              Defendants.




      SUPPLEMENT TO DEFENDANT PANKESH PATEL’S MOTION TO
         MODIFY CONDITIONS OF RELEASE TO PERMIT HIM TO
              TRAVEL OUTSIDE THE UNITED KINGDOM


       Defendant Pankesh Patel hereby supplements his Motion to Modify Conditions of

Release to Permit Him to Travel Outside the United Kingdom (Docket No. 98) to request

that oral argument on this matter be heard before this Court, pursuant to Local Criminal

Rule 47(f).



Dated: June 4, 2010

                                             Respectfully submitted,

                                               /s/ Eric B. Bruce           .
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 4th day of June, 2010, the above Supplement to

Defendant Pankesh Patel’s Motion to Modify Conditions of Release to Permit Him to

Travel Outside the United Kingdom was served electronically via the District Court’s

electronic filing system on:


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                                                   /s/ Eric B. Bruce            .
